                Case: 5:14-cr-00014-JMH Doc #: 21 Filed: 10/08/14 Page: 1 of 5 - Page ID#: 55
AO 245B     (Rev. 09/11) Judgment in a Criminal Case
            Sheet 1                                                                                             Eastern Distriot of Kentucky
                                                                                                                               F I LED
                                           UNITED STATES DISTRICT COURT                                                        OCT - 8 2014
                                                         Eastern District of Kentucky                                           AT LEXINGTON
                                                                                                                               ROBERT R. CARR
                                                                                                                     CLERK U.S. DISTRlCT COURT
                                                                         )
                UNITED STATES OF AMERICA                                 )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                    )
                                                                         )
                         David Kent Lewis                                )      Case Number:             5: 14-CR-14-JMH
                                                                         )      USMNumber:               17433-032
                                                                         )
                                                                         )      Pam Ledgewood
                                                                                Defendanl'S Attorney
 THE DEFENDANT:
 i&l pleaded guilty to count(s)

 o   pleaded nolo contendere to count(s)
     which was accepted by the court.

 o   was found guilty on count(s)
     after a plea of not gUilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section     Nature of Offense                                                                          Offense Ended                   Count
  18: I 832(a)(S)    Conspiracy to Commit Theft of Trade Secrets                                            06/30/2009                            1




       The defendant is sentenced as provided in pages 2 through        _ . --,-S__ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.

 D The defendant has been found not guilty on count(s)


 o   Count(s)                                            o   is   0   are dismissed on the motion of the United States.


It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        October 6, 2014
                                                                        Dale of Imposition of Judgment


                                                                        ~~~~m.~                                       ......   - - -..   ~   ----­




                                                                        Honorable Joseph M. Hood, Senior U.S. District Judge
                                                                        Name and Title ofJudge
                  Case: 5:14-cr-00014-JMH Doc #: 21 Filed: 10/08/14 Page: 2 of 5 - Page ID#: 56
AO 245B      (Rev. 09111) Judgment in a Criminal Case
             Sheet 4-Probation


                                                                                                          Judgment-Page _ ..... "-~~ of
 DEFENDANT:                    David Kent Lewis
 CASE NUMBER:                  5: 14-CR-14-JMH

                                                                 PROBATION

The defendant is hereby sentenced to probation for a term of:

                                                                       3 years.


The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check. if applicable)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
 D        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable)
 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet ofthis judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                                STANDARD CONDITIONS OF SUPERVISION
   1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)   the defendant shall support his or her dependents and meet other family responsibilities;
   5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 I I)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission ofthe court; and
 13)    as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.
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AD 2458     (Rev. 09/11) Judgment in a Criminal Case
            Sheet 4C-Probation


                                                                                                     Judgment-Page _-"-_ of
  DEFENDANT:                  David Kent Lewis
  CASE NUMBER:                5: 14-CR-14-JMH


                                            SPECIAL CONDITIONS OF SUPERVISION

The defendant shall be placed on home incarceration without electronic monitoring for a period of nine months.
During this time, the defendant shall remain at place of residence except for employment and other activities
approved in advance by the probation officer.




Pursuant to Public Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of2004, the defendant shaH submit to
DNA coHection ifthe offense of conviction is a felony ..


                                                          ACKNOWLEDGMENT


Upon a finding of a violation of probation or supervised release, 1 understand that the Court may (I) revoke supervision, (2) extend the term
of supervision. and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


(Signed) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        (Defendant)                                                          Date


          U. S. Probation Officer/Designated Witness                         Date
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 AO 245B      (Rev. 09/11) Judgment in a Criminal Case
              Sheet 5   Criminal Monetary Penalties


                                                                                                                Judgment     Page _--'-__ of
  DEFENDANT:                           David Kent Lewis
  CASE NUMBER:                         5: 14-CR-14-JMH

                                                   CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                                Fine                                   Restitution
  TOTALS              $    100                                                  $ Waived                                $ 32,000


  o     The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

  ~    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal
        victims must be paid before the United States is paid.
  Name of Payee                                   Total Loss*                                Restitution Ordered                    Priority or Percentage
  Brake Parts, Inc                                                                                          32,000.00
  ATIN: Phillip 1. Cutting, CFO
  4400 Prime Parkway
  McHenry, IL 60050




 TOTALS                                                                                  $                  32,000.00
                                         $-----------------­

 o      Restitution amount ordered pursuant to plea agreement $

 []     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(1). All ofthe payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 o      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       o     the interest requirement is waived for the             0        fine    0       restitution.

       o     the interest requirement for the            0   fine       []      restitution is modified as follows:

* Findings for the total amount oflosses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                     Case: 5:14-cr-00014-JMH Doc #: 21 Filed: 10/08/14 Page: 5 of 5 - Page ID#: 59
 AO 245B       (Rev, 09/11) Judgment in a Criminal Case
               Sheet 6   Schedule of Payments

                                                                                                               Judgment    Page       5       of        5
  DEFENDANT:                     David Kent Lewis
  CASE NUMBER:                   5: 14-CR-14-JMH

                                                              SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     IXI    Lump sum payment of $               100             due immediately, balance due

               n      not later than                                    , or
               IX!    in accordance          IX!   C,     n    D   r       or      IX!   Fbelow; or

  B     n      Payment to begin immediately (may be combined with                 n      C,    n      D, or      n    F below); or

  C     IX!    Payment in equal       ~:rg~ (e.g" weekly, monthly, quarterly) installments of $                           over a period of
                36             (e.g., months or years), to commence 30      (e.g., 30 or 60 days) after the date of this judgment; or

  D    n       Payment in equal                          (e.g.. weekly, monthly. quarterly) installments of $                        over a period of
                               (e,g., months or years), to commence                       (e.g.. 30 or 60 days) after release from imprisonment to a
               term of supervision; or

  E    n       Payment during the term of supervised release will commence within                ""'" (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

  F    !Xl     Special instructions regarding the payment of criminal monetary penalties:

             $100 Special Assessment is due immediately.

Criminal monetary penalties are payable to: Clerk, U.S. District Court, Eastern District of Kentucky, 101 Barr Street, Room 206, Lexington,
KY 40507-1357
PLEASE INCLUDE YOUR CASE DOCKET NUMBER WITH PAYMENT

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  o    Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defondant number), Total Amount, Joint and Several Amount, and
        corresponding payee, if appropriate.




 o       The defendant shall pay the cost of prosecution.

 o       The defendant shall pay the following court cost(s):

 o      The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
